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15

16                                  UNITED STATES DISTRICT COURT

17            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

18
      The Women’s Student Union,                    Case No. 3:21-cv-01626-EMC
19
                       Plaintiff,                   PROPOSED INTERVENOR-DEFENDANTS’
20           v.                                     REPLY IN SUPPORT OF MOTION TO
      U.S. Department of Education,                 INTERVENE
21
                       Defendant,                   Judge: Hon. Edward M. Chen
22
      Foundation for Individual Rights in           Date: January 20, 2022
23    Education, Independent Women’s Law            Time: 1:30 p.m.
      Center, Speech First, Inc.,                   Crtrm: 5, 17th Floor
24

25            [Proposed] Intervenor-Defendants

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27

28
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 1                                              ARGUMENT
 2   I.     Movants Do Not Need Article III Standing to Intervene as Defendants but Have
 3          Standing Nonetheless.

 4          Plaintiff argues that “Movants lack Article III standing, and so cannot intervene by right in

 5   WSU’s suit.” Pl. Opp’n to Movant’s Mot. to Intervene as Defs., Doc. 94 at 7 (Nov. 17, 2021) (“Pl.
 6   Opp’n”). But Movants need not establish Article III standing to intervene as defendants. See Little
 7
     Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2379 n.6 (2020)
 8
     (citing Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1651 (2017)); Virginia House of
 9
     Delegates v. Bethune-Hill, 139 S. Ct. 1945, 1952 (2019) (a party who “intervene[s] in support of
10

11   defendants in the trial court” does “not need to establish standing” due to its “defensive posture.”).

12   The Supreme Court’s decision in Little Sisters “definitively resolved the persistent circuit

13   split” over whether a putative intervenor must “demonstrate independent constitutional standing”
14
     in cases where it brings no new claims. See PrimeSource Bldg. Prod., Inc. v. United States, 494 F.
15
     Supp. 3d 1307, 1320 (Ct. Int’l Trade 2021). Here, Plaintiff invokes the Court’s jurisdiction, while
16
     Movants seek to intervene as defendants. Movants thus need not establish independent Article III
17
     standing.
18

19          Nevertheless, Movants have standing. The Supreme Court has made plain that a “concrete

20   and demonstrable injury to [an] organization’s activities—with the consequent drain on the
21   organization’s resources—constitutes far more than simply a setback to the organization’s abstract
22
     social interests” and thus suffices for standing. Havens Realty Corp. v. Coleman, 455 U.S. 363, 379
23
     (1982); see also La Asociacion de Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d
24
     1083, 1088 (9th Cir. 2010) (An organization has standing to sue on its own behalf when it suffers
25

26   “both a diversion of its resources and a frustration of its mission.” (quoting Fair Hous. of Marin v.

27   Combs, 285 F.3d 899, 905 (9th Cir.2002)). Movants provide various services to students accused

28   of sexual harassment who are in university misconduct proceedings. If the 2020 rule (the “Rule”)
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 1   is invalidated and schools return to their pre-Rule procedures, Movants will be forced once again
 2   to allocate additional resources to providing such services, diverting resources away from other
 3
     activities. That is enough to establish that if Plaintiff prevails in this lawsuit, Movants will sustain
 4
     a “concrete and demonstrable injury” under Havens Realty and its progeny.
 5
            Plaintiff argues that Movants’ organizational injuries are too speculative because “shifting
 6

 7   of resources back would only arrive at the end of highly speculative ‘chain of possibilities,’ ” and

 8   future disciplinary proceedings are “far too tenuous to support standing.” Pl. Opp’n at 3, 7. But

 9   Plaintiff’s own complaint alleges that the Rule will lead schools to “engage in fewer investigations
10
     of sexual harassment, and thus will find fewer violations and provide fewer remedies,” Am.
11
     Compl., Doc. 78 at ¶ 34 (Oct. 4, 2021)—an allegation that is essential for Plaintiff to establish its
12
     own standing. Plaintiff’s prayer for relief asks the Court to throw out the Rule’s definition of sexual
13
     harassment in its entirety—at post-secondary as well as secondary schools. If Plaintiff has standing
14

15   to seek such relief, then Movants have standing to oppose it.

16          Plaintiff also implies that injuries that depend upon the future conduct of third parties are
17   always too speculative to qualify as an injury-in-fact under Article III, but Supreme Court and Ninth
18
     Circuit precedents say otherwise. See Bennett v. Spear, 520 U.S. 154, 169 (1997); Mendia v.
19
     Garcia, 768 F.3d 1009, 1012 (9th Cir. 2014). As the Supreme Court recently explained, a litigant
20
     has standing where an injury is caused by “the predictable effect of Government action on the
21

22   decisions of third parties.” Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019). Here,

23   the predictable effect of invalidating the Rule’s definition of sexual harassment is a return to the

24   use of unconstitutionally vague and overbroad conduct codes by Title IX funding recipients and
25   more of Movants’ members being punished in violation of the First Amendment.
26
     II.    Movants Have a Right To Intervene Under Rule 24(a)(2).
27
            Movants have established all the requirements for intervention as of right under Federal
28
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 1   Rule of Civil Procedure 24(a)(2). Neither party contests the timeliness of Movants’ motion, and the
 2   other requirements are likewise satisfied.
 3
            A. Movants have a significant protectable interest in this case.
 4
            Movants have established a “ ‘significantly protectable’ interest” in the subject of this
 5
     action. Wilderness Soc. v. U.S. Forest Serv., 630 F.3d 1173, 1177–78 (9th Cir. 2011) (quoting
 6

 7   Donaldson v. United States, 400 U.S. 517, 531 (1971)). Ninth Circuit precedent is clear that public

 8   interest groups satisfy this requirement for intervention as of right when a measure they supported

 9   is challenged. See Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1397 (9th Cir. 1995). This
10
     understanding of the law is confirmed by United States v. City of Los Angeles, a case Plaintiffs cite,
11
     in which the Ninth Circuit found a protectable interest even when an organization had only worked
12
     on an issue “generally,” but had not engaged in advocacy specific to the particular measure at hand,
13
     288 F.3d 391, 402 n.5 (9th Cir. 2002). Here, Movants have long been on the front lines of free
14

15   speech issues on college campuses and directly engaged the Department during the rulemaking

16   process, specifically urging the adoption of the Davis standard for defining sexual harassment. The
17   Davis standard’s inclusion in the Rule demonstrates the impact of Movants’ involvement and
18
     significant interest in these issues. That others also participated does not diminish those interests.
19
            Second, Plaintiff and Defendant challenge Movants’ diversion-of-resources theory as
20
     speculative and unsupported, respectively. Pl. Opp’n at 9; Def.’s Opp’n to the Organizational
21

22   Movants’ Mot. to Intervene, Doc. 93 at 3 (“Def.’s Opp’n”). These arguments miss the mark.

23   Movants’ opening brief outlines the direct impact of the Rule on Movants. With the Rule in place,

24   Movants have shifted resources from costly efforts of challenging university policies and defending
25   individual students in fundamentally unfair “sexual harassment” proceedings to furthering other
26
     aspects of their missions. If the use of the Davis standard is invalidated, Movants will be forced to
27
     divert significant additional resources to helping students and faculty who are accused under the
28
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 1   vague and subjective sexual harassment policies favored by Plaintiffs.
 2           Third, Plaintiff says that it is unable to conceive of a “relationship” between this litigation
 3
     and the free speech rights of Movants and their members. Pl. Opp’n at 9. For years, Movants spent
 4
     time and treasure on efforts to safeguard the free-speech rights of their members and other faculty
 5
     and students. The promulgation of the Rule was a significant step in safeguarding those rights on
 6

 7   campuses around the country. Plaintiff’s attack on the Rule and the Department’s refusal to make

 8   constitutional arguments in its defense puts Movants’ rights at stake in this case and establishes

 9   their interest under Rule 24(a)(2).
10
             B. Movants’ interests may be impaired, as a practical matter, by the disposition of
11              this case.

12           Movants have also established that a disposition of this case in favor of Plaintiff will

13   practically impair their interests. The Ninth Circuit, in similar circumstances, has found that there
14   is “little difficulty concluding that the disposition of the case may, as a practical matter, affect it.”
15
     Citizens for Balanced Use v. Montana Wilderness Ass'n, 647 F.3d 893, 898 (9th Cir. 2011) (cleaned
16
     up). The Rule provides significant protections to Movants and their members, which they stand to
17
     lose by the direct legal operation of the outcome of a final judgment in Plaintiff’s favor in this case.
18

19   See Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 822 (9th Cir. 2001). Plaintiff argues

20   that Movants are “not entitled to mandatory intervention because they will have many other

21   opportunities to protect their asserted interest.” Pl. Opp’n. at 19. Specifically, Plaintiff asserts that
22
     Movants may participate in a future rulemaking and additional litigation if their significant
23
     protectable interests are eviscerated in this case. Id. at 18–19. But the point of Rule 24(a)(2) is to
24
     provide parties such as Movants with the ability to intervene in litigation and protect their interests
25
     before those interests are impaired.
26

27           Moreover, Plaintiff’s suggestion that Movants could take part in a future Department

28   rulemaking disregards the reality that, during the interim, the return of unconstitutional disciplinary
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 1   hearings would force Movants to divert significant resources to assisting university students and
 2   faculty who are accused under vague and subjective sexual harassment policies. Plaintiff offers no
 3
     explanation for how Movants could remedy this impairment of their protectable interests.
 4
            C. The Department does not adequately represent Movants’ interests.
 5
            Despite the Department’s arguments to the contrary, Movants and the Department do not
 6
     share the same ultimate objective in this litigation. Although the Ninth Circuit recognizes a
 7

 8   presumption of adequate representation where a proposed intervenor shares an ultimate objective

 9   with an existing party, Geithner, 644 F.3d at 841, and especially so “where the Department of
10   Justice deploys its formidable resources” to defend government action, California ex rel. Lockyer
11
     v. United States, 450 F.3d 436, 444 (9th Cir. 2006), a proposed intervenor can overcome the
12
     presumption by showing “distinctly different, and likely conflicting, interests” than those currently
13
     represented by the parties in suit, id. While the Department may currently have a general objective
14

15   of defending the Rule as it stands, Movants have a narrower interest in how and why the Rule is

16   upheld. See Forest Conservation Council v. U.S. Forest Service, 66 F.3d 1489, 1499 (9th Cir.

17   1995), abrogated on other grounds by Wilderness Soc. v. U.S. Forest Serv., 630 F.3d 1173, 1176
18   (9th Cir. 2011) (“Inadequate representation is most likely to be found when the applicant asserts a
19
     personal interest that does not belong to the general public.”). Despite Plaintiff’s efforts to
20
     generalize the parties’ “objectives,” the very real divergence between the Department’s need to
21
     balance competing interests and Movants’ more singular focus on defending the Rule is just the
22

23   type of divergence of interests that the Ninth Circuit has found to underpin inadequate

24   representation. See, e.g., Californians for Safe and Competitive Dump Truck Transp. v. Mendonca,

25   152 F.3d 1184, 1190 (9th Cir. 1998); United States v. Oregon, 839 F.2d 635, 638 (9th Cir. 1988);
26
     see also Pennsylvania v. President of the United States, 888 F.3d 52 (3d Cir. 2018). 1
27

28         This disconnect is further emphasized by the Department’s effort to dispose of Plaintiff’s
            1


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 1           Plaintiff attempts to analogize this case to Arakaki v. Cayetano, 324 F.3d 1078 (9th Cir.
 2   2003), but ignores critical context from that ruling. Specifically, in Arakaki the Ninth Circuit found
 3
     the Hoohuli tribe failed to overcome the presumption of adequate representation where government
 4
     defendants were willing to make all necessary arguments, where those defendants had “specific
 5
     statutory and constitutional obligations” to advance the proposed-intervenor’s interests, and where
 6

 7   a “similarly situated intervenor” was already present in the case. Id. at 1087. This case presents

 8   none of those facts. Here, the Department has made it abundantly clear that it is not willing to make

 9   Movants’ arguments—nor is it statutorily or constitutionally required to do so—and there is no
10
     other intervenor already in the case who will do so. Instead, Movants’ motion is akin to the
11
     collection of cases which the Arakaki Court found distinguishable, where the movants’ interests
12
     were “narrower than that of the government” and thus could not be adequately represented. Id.
13
     (citing Southwest Ctr., 268 F.3d at 823; Mendonca, 152 F.3d at 1190; and Forest Conservation
14

15   Council, 66 F.3d at 1499).

16           The Department argues “it is not enough to suggest that a change in administration implies
17   inadequate representation.” Def.’s Opp’n at 5. But Movants’ claim of inadequate representation
18
     does not rest solely upon a change in administrations. Instead, Movants offer concrete evidence—
19
     based on the current administration’s actions over the last ten months—that the change in
20
     administrations has materially affected Defendant’s ability to adequately represent Movant’s
21

22   interests. Plaintiff, which shares the Department’s hostility to the Rule, makes the puzzling

23   argument that the Department’s capitulation in Victim Rights Law Center, is “insufficient” to

24   establish inadequacy because the Rule’s cross-examination requirement “is not at issue in this suit.” Pl.
25   Opp’n at 11. That a certain portion of the Rule is not at issue here is of no moment. The Department’s
26

27
     claims through a motion to dismiss, whereas Movants seek consideration of those claims, and
28   Movants’ defenses, on the merits.
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 1   behavior is emblematic of its new posture to the Rule, and perfectly encapsulates the diminished vigor
 2   with which it offers to protect Movants’ interests.
 3
             Furthermore, the Department and Plaintiff argue that even if Movants’ legal position differs
 4
     from that of the Department, this difference is insufficient to establish inadequate representation.
 5
     The Department and Plaintiff are wrong. To be sure, in Lockyer, the Ninth Circuit noted that the
 6
     proposed intervenor’s desire to argue for a broader statutory construction was not by itself sufficient
 7

 8   to overcome the presumption of adequate representation. 450 F.3d at 444. But in the very next

 9   breath, the Ninth Circuit explained that a “very compelling showing” of inadequate representation
10   would be made if a proposed intervenor could “demonstrate a likelihood that the government will
11
     abandon or concede a potentially meritorious reading of the statute.” Id. In Lockyer, the proposed
12
     intervenors sought to inject an argument that would raise constitutional issues far broader than the
13
     limiting construction that the government proposed to employ to “assuage . . . constitutional
14

15   doubts.” Id. The Ninth Circuit found these divergent strategies “far more than differences in

16   litigation strategy between the United States and the proposed intervenors”—it was a difference

17   that went “to the heart of the defense of the [statute].” Id. at 444–45 (internal citations omitted).
18   Movants’ constitutional arguments likewise go to the heart of the defense of the Rule. Yet the
19
     Department has steadfastly refused to make them, because it seeks to “leav[e] room for any policy
20
     changes to the existing rule.” Def.’s Opp’n at 6. The Department has now had two opportunities to
21
     assure the Court that it is willing to make Movants’ arguments, yet it has not done so. That the
22

23   Department will forgo a potentially meritorious defense further shows that it does not adequately

24   represent Movants’ interests.

25           Plaintiff argues that Movants’ constitutional arguments cannot be properly raised in the
26
     context of APA litigation and run “headlong into principles of constitutional avoidance.” Pl. Opp’n
27
     at 13–14. The Ninth Circuit’s ruling in Lockyer says otherwise. By reversing the lower court’s
28
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 1   denial of intervention, the Court expressly allowed intervenors into a case so that they could raise
 2   constitutional issues that the existing parties refused to present. 450 F.3d at 444. Though
 3
     constitutional avoidance requires that a court consider non-constitutional defenses before
 4
     constitutional defenses, it does not permit the court to ignore constitutional defenses altogether, as
 5
     Plaintiff proposes.
 6

 7          Lastly, Plaintiff contends that Movants’ constitutional arguments are irrelevant to the

 8   appropriate remedy in this case if the Court ultimately concludes that the Department’s explanation

 9   for the Rule’s definition of sexual harassment is legally deficient. Pl. Opp’n. at 17. Plaintiff’s
10
     argument misconstrues APA harmless error jurisprudence. The burden of establishing that agency
11
     error affected the outcome rests firmly with Plaintiff. See Shinseki v. Sanders, 556 U.S. 396 (2009);
12
     Al Haramain Islamic Found., Inc. v. U.S. Dep't of Treasury, 686 F.3d 965, 989 (9th Cir. 2012); see
13
     also Cal. Wilderness Coal. v. U.S. Dep't of Energy, 631 F.3d 1072, 1109 (9th Cir.2011) (J. Ikuta,
14

15   dissenting) (explaining that “[u]nder Sanders, we may neither presume prejudice nor place the

16   burden of proof on the agency to disprove prejudice”). It would be senseless to vacate a definition
17   of harassment that is constitutionally required. Should this case reach the remedy stage, it will, at
18
     that point, be incumbent upon Plaintiff to establish prejudicial error—not for the defendants to
19
     prove the inverse. Moreover, Plaintiff’s reliance on principles from SEC v. Chenery Corp., 318 U.S.
20
     80, 87 (1943), equally misses the mark. None of the cases cited by Plaintiff involve a situation where
21

22   an agency was sued for failing to adopt a particular policy that the agency lacked legal authority to

23   adopt. Cherney does not require vacatur and remand for the empty formalism of a new explanation

24   by the agency for why it failed to do something it was legally prohibited from doing.
25   III.   Alternatively, the Court Should Grant Movants Permissive Intervention.
26
            Movants have also met the requirements for permissive intervention. As all parties agree,
27
     permissive intervention requires a proposed intervenor show “(1) independent grounds for
28
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 1   jurisdiction; (2) the motion is timely; and (3) the applicant’s claim or defense, and the main action,
 2   have a question of law or a question of fact in common.” Nw. Forest Res. Council v. Glickman, 82
 3
     F.3d 825, 839 (9th Cir. 1996) (citing Greene v. United States, 996 F.2d 973, 978 (9th Cir.1993),
 4
     aff'd, Greene v. Babbitt, 64 F.3d 1266 (9th Cir.1995)). Plaintiff challenged both the first and third
 5
     requirements, while Defendant challenges only the third requirement. Pl. Opp’n at 21–22; Def.’s
 6

 7   Opp’n at 7–8. Additionally, Plaintiff argues that adequate representation and undue delay

 8   discourage permissive intervention. Pl. Opp’n at 22–23. None of these arguments are persuasive.

 9          A. Movants’ defense shares a common question of law or fact with the main action.
10          The Department argues that Movants “have no ‘defense’ that is common to the government,
11
     as no plaintiff could bring an APA claim against any entity other than the federal government.”
12
     Def. Opp’n at 8. But the logic of that argument implies that permissive intervention on the
13
     government’s side is never appropriate in APA cases—a contention that is clearly wrong. See, e.g.,
14

15   Friant Water Auth. v. Jewell, 2014 WL 6774019, at *5 (E.D. Cal. Dec. 1, 2014). The operative

16   question is not whether a proposed intervenor-defendant could be sued in its own right, but whether

17   the issues it proposes to raise share a common question of law or fact with the main action.
18   Movants’ defenses—which “squarely respond” to Plaintiff’s claims—share common questions
19
     with the main action. Kootenai Tribe of Idaho v. Veneman, 313 F.3d 1094, 1111 (9th Cir. 2002),
20
     abrogated on other grounds by Wilderness Soc., 630 F.3d at 1173.
21
            Plaintiff’s argument on this issue fares no better. Plaintiff contends that Movants’ arguments
22

23   are too attenuated from the subject of the action. Pl. Opp’n at 21–22. To support this position,

24   Plaintiff points to Mishewal Wappo Tribe of Alexander Valley v. Salazar, 2012 WL 4717814, at *6

25   (N.D. Cal. Sept. 28, 2012), aff’d, 534 F. App’x 665 (9th Cir. 2013). But Mishewal is clearly
26
     distinguishable. There, after first granting intervention, the court dismissed the intervenor-
27
     defendants from the case when the complaint was amended to drop the claim that had been the
28
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 1   basis for intervention. Id. at *4. It is unsurprising that a Court would find attenuated from the case
 2   defenses that focused on claims the plaintiff was no longer pressing. Here, however, Movants’
 3
     constitutional defense responds directly to Plaintiff’s effort to invalidate the Rule’s definition of
 4
     “sexual harassment.” As such, the defense shares a common question of law or fact with the main
 5
     action.
 6

 7             B. Movants will cause no undue delay or prejudice in this litigation.

 8             Movants’ intervention, at the early stages of this case, would cause no delay or prejudice to

 9   the existing parties. Plaintiff’s argument to the contrary is unavailing. As outlined in Movants’
10
     opening brief, granting permissive intervention would not create any delay—let alone undue delay.
11
     To defend its position, Plaintiff relies on out-of-context quotations from Apple Inc. v. Iancu, 2021
12
     WL 411157, at *5 (N.D. Cal. Feb. 5, 2021), while ignoring the obvious differences between that
13
     case and this one. Apple concerned a group of proposed-intervenor-plaintiffs who sought to inject
14

15   new claims and a demand for an injunction against the defendant in an existing action even though

16   they had the “option to bring a separate action” against the defendant. Id. at *6. Movants here, in
17   contrast, seek to intervene as defendants to raise an important constitutional defense that the
18
     Department will not present. Requiring Plaintiff to prove its case and rebut reasonable
19
     constitutional defenses would not cause undue delay or prejudice. 2
20
                                                CONCLUSION
21

22             For the foregoing reasons, the motion to intervene should be granted.

23
               2
               As explained at greater length in the previous section on intervention as of right and in
24   Movants’ opening brief, the Department is unwilling to make an argument that the First
     Amendment required it to use the Davis standard in its definition of “sexual harassment.” Mem. of
25   Points and Authorities in Support of Intervenor-Defs.’ Mot to Intervene, Doc. 88-1 at 1 (Nov. 3,
26   2021). Because Movants have narrower interests than the Department, and the Department has
     shown outward hostility to the Rule, it is simply not the case that the Department adequately
27   represents Movants in this litigation. Regardless, “[u]nlike Rule 24(a), subsection (b) ‘does not
     require a showing of inadequacy of representation.’ ” Arizona Democratic Party v. Hobbs, No. CV-
28   20-01143-PHX-DLR, 2020 WL 6559160, at *1 (D. Ariz. June 26, 2020).
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 1
      Dated: November 24, 2021                 Respectfully submitted,
 2
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